                       IN THE UNITED STATES DISTRICT COURT EASTERN
                      DISTRICT OF TENNESSEE AT GREENEVILLE CRIMINAL
                      MINUTES:          INITIAL APPEARANCE - Rule 5
 USA v      JOHN LAMBERT

 Case No 2:19-MJ-113      Date   April 16, 2019    Time   3:07-3:40 P.M.
               Hon. CLIFTON CORKER, Magistrate Judge, Presiding
      KIM OTTINGER             DCR                   D. WAYNE TAYLOR
     Deputy Clerk           Court Reporter        Asst. U.S. Attorney
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      DEFENDANT                          ATTORNEY

 JOHN LAMBERT                                                   NICK WALLACE

 PROCEEDINGS:

 Defendant sworn
 Defendant found competent

 Defendant advised of charges, penalties and rights
 (Copy of complaint provided to defendant)
 Financial affidavit executed with Counsel present and appointed

 Government counsel acknowledges agreement to conditions of release

 Bond ($20,000 Unsecured) and Conditions of pretrial release set

 Defendant advised of penalties for violation of pretrial release

 Defendant released on bond

 Waiver of Rule 5 identity hearing

 Defendant is ordered to self-report on 4/29/19 @ 10:00 a.m. in SDNY




I, Kim Ottinger, Deputy Clerk, CERTIFY the official record of this proceeding is an audio file. Grn-DCR_2-19-
MJ-113_20190416_143953




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